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                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MARYLAND

STACI SMITH,                                   *

       Plaintiff                               *

               v                               *           Civil Action No.       DKC-14-2993

AMERICAN COLLECTIONS ENTERPRISE, *
INC.,
                                 *
      Defendant
                                ***
                             ORDER

       Pending is Plaintiff’s Notice of Voluntary Dismissal. ECF No. 5. In light of the fact that

no responsive pleading has been filed, the Complaint shall be dismissed without prejudice.

Accordingly, it is this 27th day of October, 2014, by the United States District Court for the

District of Maryland, hereby ORDERED that:

       1. The Complaint IS DISMISSED without prejudice;

       2. The Clerk SHALL PROVIDE a copy of this Order to counsel; and

       3. The Clerk SHALL CLOSE this case.


                                            __________/s/____________________________
                                            DEBORAH K. CHASANOW
                                            United States District Judge
